Case 1:24-cv-02844-JMF Document 30

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

X

DAMIAN CHIMBOLEMA, et al., individually and
on behalf of all others similarly situated,

Plaintiffs,
-against-
BROOKLYN GRID LLC, et al.,
Defendants.

X

SARAH NETBURN, United States Magistrate Judge:

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24-CV-02844 (JMF)(SN)

ORDER

This action is STAYED pending further order of the Court. The Defendant is ORDERED

to produce the responsive documents discussed at the September 6, 2024 settlement conference

no later than 30 days from the date of this Order.

Plaintiffs’ counsel shall appear for a telephone conference on October 17, 2024, at 10:00

a.m. At that time, Plaintiffs’ counsel should call the Court’s dedicated teleconferencing line at

(877) 402-9757 and enter Access Code 7938632, followed by the pound (#) key.

SO ORDERED.

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SARAH NETBURN
United States Magistrate Judge

DATED: September 6, 2024
New York, New York
